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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   LUBBOCK DIVISION

  DAVID A. LONG, individually and on               §
  behalf of all others similarly situated,         §
                                                   §
            Plaintiff,                             §
                                                   §          CASE NO. 5:21-cv-00204-H
  v.                                               §
                                                   §
  EDWARD SLOAN AND ASSOCIATES,                     §
  INC.,                                            §
                                                   §
            Defendant.                             §
                                                   §
                                                   §
                                                   §
                                                   §
                                                   §


                 DEFENDANT EDWARD SLOAN AND ASSOCIATES, INC.’S

                     ANSWER TO PLAINTIFF’S AMENDED COMPLAINT

       Now comes Paramount Recovery Systems, (“Defendant”), by and through undersigned

counsel, and for its Answer to Plaintiff David Long’s (“Plaintiff”) Complaint (“Complaint”),

states as follows:

                                       NATURE OF THE ACTION

       1.        Paragraph 1 of Plaintiff’s Complaint sets forth allegations to which no response is

required. To the extent a response is required, Defendant denies the allegations set forth in

Paragraph 1 of Plaintiff’s Complaint to the extent they allege or imply wrongdoing by Defendant

or that Plaintiff has any viable claims against Defendant.

                                     JURISDICTION AND VENUE




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        2.      Paragraph 2 of Plaintiff’s Complaint sets forth legal conclusions to which no

response is required. To the extent a response is required, Defendant admits that this Court has

jurisdiction over claims arising under federal law.

        3.      Paragraph 3 of Plaintiff’s Complaint sets forth legal conclusions to which response

is required. To the extent that a response is required, Defendant admits this court has supplemental

jurisdiction.

        4.      Paragraph 4 of Plaintiff’s Complaint sets forth a legal conclusion to which no

response is required. To the extent a response is required, Defendant admits that venue is

appropriate in this case.

                                                PARTIES

        5.      Upon information and belief, Defendant admits Paragraph 5 of Plaintiff’s

Complaint.

        6.      No response is required to Paragraph 6 of Plaintiff’s Complaint as the allegations

set forth are statements of law or legal conclusions.


        7.      No response is required to Paragraph 7 of Plaintiff’s Complaint as the allegations

set forth are statements of law or legal conclusions.


        8.      No response is required to Paragraph 8 of Plaintiff’s Complaint as the allegations

set forth are statements of law or legal conclusions.


        9.      Defendant admits the allegations contained in Paragraph 9 of Plaintiff’s Complaint.


        10.     Defendant admits the allegations contained in Paragraph 10 of Plaintiff’s

Complaint.


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       11.     Defendant admits that it collects debts due to           , but otherwise denies the

allegations contained in Paragraph 11 of Plaintiff’s Complaint.

       12.     No response is required to Paragraph 12 of Plaintiff’s Complaint as the allegations

set forth are statements of law or legal conclusions.

       13.     No response is required to Paragraph 13 of Plaintiff’s Complaint as the allegations

set forth are statements of law or legal conclusions.

       14.     No response is required to Paragraph 14 of Plaintiff’s Complaint as the allegations

set forth are statements of law or legal conclusions.

                                      FACTUAL ALLEGATIONS

      14. Upon information and belief, Defendant admits the allegations set forth in Paragraph

      14 of Plaintiff’s Complaint.

       15.     No response is required to Paragraph 15 of Plaintiff’s Complaint as the allegations

set forth are statements of law or legal conclusions.

       16.     Defendant is unable to admit or deny the allegations contained in Paragraph 16 of

Plaintiff’s Complaint.


       17.     Defendant admits that it called Defendant but otherwise denies the allegations set

forth in Paragraph 17 of Plaintiff’s Complaint.

       18.      Defendant is unable to admit or deny the allegations set forth in Paragraph 18 of

Plaintiff’s Complaint at this time due to lack of knowledge.

       19.     Defendant is unable to admit or deny the allegations contained in Paragraph 19 of

Plaintiff’s Complaint at this time due to lack of knowledge.

       20.     Defendant denies the allegations contained in Paragraph 20 of Plaintiff’s

Complaint.

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       21.     Defendant denies the allegations set forth in Paragraph 21 of Plaintiff’s Complaint.

       22.     Defendant denies the allegations contained in Paragraph 22 of Plaintiff’s

Complaint.

       23.     Defendant admits that it may have left a voicemail message, but otherwise denies

the allegations contained in Paragraph 23 of Plaintiff’s Complaint.

       24.     Defendant denies the allegations contained in Paragraph 24 of Plaintiff’s

Complaint.

       25.     Defendant admits that it maintains various telephone numbers, but otherwise denies

the allegations contained in Paragraph 25 of Plaintiff’s Complaint.

       26.      Defendant denies the allegations contained in Paragraph 26 of Plaintiff’s

Complaint.

       27.      Defendant denies the allegations contained in Paragraph 27 of Plaintiff’s

Complaint.

       28.     Defendant denies the allegations contained in Paragraph 28 of Plaintiff’s

Complaint.

       29.     Defendant denies the allegations contained in Paragraph 23 of Plaintiff’s

Complaint.

       30.     Defendant admits it retained counsel; but otherwise denies the remaining

allegations of Paragraph 30 of Plaintiff’s Complaint.

                                        CLASS ALLEGATIONS

       31.      No response is required to Paragraph 31 of Plaintiff’s Complaint as the allegations

set forth are statements of law or legal conclusions.




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       32.     No response is required to Paragraph 32 of Plaintiff’s Complaint as the allegations

set forth are statements of law or legal conclusions.

       33.     No response is required, to the extent that a response is required, Defendant admits

the allegations contained in Paragraph 33 of Plaintiff’s Complaint.

       34.     Defendant denies the allegations contained in Paragraph 34 of Plaintiff’s

Complaint.

       35.     Defendant denies the allegations contained in Paragraph 35 of Plaintiff’s

Complaint.

       36.     Defendant denies the allegations contained in Paragraph 36 of Plaintiff’s

Complaint.

       37.     Defendant denies the allegations contained in Paragraph 37 of Plaintiff’s

Complaint.

       38.     Defendant denies the allegations contained in Paragraph 38 of Plaintiff’s

Complaint.

       39.     Defendant denies the allegations contained in Paragraph 39 of Plaintiff’s Complaint

due to lack of knowledge as to other putative of class members.

       40.     Defendant is unable to admit or deny the allegations contained in Paragraph 40 of

Plaintiff’s Complaint.

       41.     Defendant denies the allegations contained in Paragraph 41 of Plaintiff’s Complaint

due to the lack of knowledge as to other putative class members.

       42.     Defendant denies the allegations contained in Paragraph 42 of Plaintiff’s

Complaint.




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       43.     Defendant denies the allegations contained in Paragraph 43 of Plaintiff’s

Complaint.

       44.     Defendant is unable to admit or deny the allegations contained in Paragraph 44 of

Plaintiff’s Complaint due to lack of knowledge; therefore, it is denied.

       45.     Defendant admits that Plaintiff has retained counsel but otherwise denies the

allegations contained in Paragraph 45 of Plaintiff’s Complaint due to lack of knowledge.

                                          CLAIM FOR RELIEF

                                                 COUNT I:

                      Telephone Consumer Protection Act (47 U.S.C. 227 et seq.)
                      (On behalf of Plaintiff and members of the Putative Class)

       46.       No response is required to Paragraph 46 of Plaintiff’s Complaint as the allegations

set forth are statutes of law or legal conclusions.

       47.     No response is required to Paragraph 47 of Plaintiff’s Complaint as the allegations

set forth are statutes of law or legal conclusions.

       48.     No response is required to Paragraph 48 of Plaintiff’s Complaint as the allegations

set forth are statutes of law or legal conclusions.

       49.     No response is required to Paragraph 49 of Plaintiff’s Complaint as the allegations

set forth are statutes of law or legal conclusions.

       50.     No response is required to Paragraph 50 of Plaintiff’s Complaint as the allegations

set forth are statutes of law or legal conclusions.

       51.     Defendant denies the allegations contained in Paragraph 51 of Plaintiff’s

Complaint.

       52.     Defendant denies the allegations contained in Paragraph 52 of Plaintiff’s

Complaint.

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       53.     Defendant denies the allegations contained in Paragraph 53 of Plaintiff’s

Complaint.

       54.     Defendant denies the allegations contained in Paragraph 54 of Plaintiff’s

Complaint.

       55.     Defendant denies the allegations contained in Paragraph 55 of Plaintiff’s

Complaint.

       56.     Defendant denies the allegations contained in Paragraph 56 of Plaintiff’s

Complaint.

                                                 COUNT II

                      Fair Debt Collection Practices Act (15 U.S.C. 1692 et seq.)
                                (On behalf of Plaintiff, individually)

       57.       No response is required to Paragraph 57 of Plaintiff’s Complaint.

       58.     Defendant denies the allegations contained in Paragraph 58 of Plaintiff’s

Complaint.

       59.     Defendant denies the allegations contained in Paragraph 59 of Plaintiff’s

Complaint.

       60.     Defendant denies the allegations contained in Paragraph 60 of Plaintiff’s

Complaint.

       61.     Defendant denies the allegations contained in Paragraph 61 of Plaintiff’s

Complaint.

       62.     No response is required to Paragraph 62 of Plaintiff’s Complaint as the allegations

set forth are statutes of law or legal conclusions.

       63.     No response is required to Paragraph 63 of Plaintiff’s Complaint as the allegations

set forth are statutes of law or legal conclusions.

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       64.     Defendant denies the allegations contained in Paragraph 64 of Plaintiff’s

Complaint.

       65.       Defendant denies the allegations contained in Paragraph 65 of Plaintiff’s

Complaint.

       66.     Defendant denies the allegations contained in Paragraph 66 of Plaintiff’s

Complaint.

       67.     Defendant denies the allegations contained in Paragraph 67 of Plaintiff’s

Complaint.

       68.     No response is required to Paragraph 68 of Plaintiff’s Complaint as the allegations

set forth are statutes of law or legal conclusions.

       69.     No response is required to Paragraph 69 of Plaintiff’s Complaint as the allegations

set forth are statutes of law or legal conclusions.

       70.     Defendant denies the allegations contained in Paragraph 70 of Plaintiff’s

Complaint.

       71.     Defendant denies the allegations contained in Paragraph 71 of Plaintiff’s

Complaint.

       72.     No response is required to Paragraph 72 of Plaintiff’s Complaint as the allegations

set forth are statutes of law or legal conclusions.

       73.     No response is required to Paragraph 73 of Plaintiff’s Complaint as the allegations

set forth are statutes of law or legal conclusions.

       74.     Defendant denies the allegations contained in Paragraph 74 of Plaintiff’s

Complaint.




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       75.     Defendant denies the allegations contained in Paragraph 75 of Plaintiff’s

Complaint.

                                  AFFIRMATIVE DEFENSES

      76. Defendant affirmatively alleges, in the alternative, that Plaintiff may have failed a state

           a claim upon which relief can be granted.

       77.     Defendant affirmatively alleges, in the alternative, that Plaintiff may lack standing

to bring one or more of the claims alleged in the Complaint because Plaintiff has not suffered an

alleged concrete and particularized injury.

       78.     Defendant affirmatively alleges, in the alternative, that the claims alleged in

Plaintiff’s Complaint may be barred by the statute of limitations.

       79.     Defendant affirmatively alleges, in the alternative, that any violation of law by

Defendant, which is specifically denied, was not intentional and resulted from a bona fide error

notwithstanding the maintenance of procedures reasonably adapted to avoid any such error.

       80.     Defendant affirmatively alleges, in the alternative, that it acted in good faith at all

times and acted in good faith reliance on the information provided to it by the creditor of the

account.

       81.     Defendant affirmatively alleges, in the alternative, that claims alleged in Plaintiff’s

Complaint may be barred by the doctrines of waiver, estoppel, laches, and/or unclean hands.

       82.     Defendant affirmatively alleges, in the alternative, that Defendant did not make any

false or misleading representations to Plaintiff or anyone else.

       83.     Defendant affirmatively alleges, in the alternative, that Plaintiff did not rely on any

alleged false or misleading misrepresentations.




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      84. Defendant affirmatively alleges, in the alternative, that any alleged false or misleading

          representations, which are specifically denied, were not material.

       85.     Defendant affirmatively alleges, in the alternative, that Defendant did not commit

any unfair, deceptive, or unconscionable acts.

       86.     Defendant affirmatively alleges, in the alternative, that Plaintiff has suffered no

compensable damages as a result of any actions taken by Defendant.

       87.     Defendant respectfully reserves the right to assert any additional affirmative

defenses that may be revealed during the course of discovery.

       WHEREFORE, Defendant respectfully requests that this Court dismiss Plaintiff’s

Complaint at Plaintiff’s cost, and that Defendant be awarded its reasonable attorneys’ fees and

costs as provided for under applicable law.

Dated: January 27, 2022

                                                      Respectfully submitted,

                                                      MAURICE WUTSCHER LLP

                                              By:     //s// Keith Wier
                                                      Keith Wier
                                                      State Bar No. 21436100
                                                      Fed. ID No. 7930
                                                      5851 Legacy Circle, Suite 600
                                                      Plano, Texas 75024
                                                        Tel. (512) 949-5914
                                                        Fax (888) 852-5729
                                                      Email: kwier@mauricewutscher.com

                                                      ATTORNEYS FOR DEFENDANT
                                                      EDWARD SLOAN AND ASSOCIATES,
                                                      INC.




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                                 CERTIFICATE OF SERVICE

I hereby certify that on the 7th day of April, 2022, I electronically filed the foregoing with the
Clerk of Court using the CM/ECF system which will send notification of such filing to the
following:

Marwan R. Daher, Esq.
Sulaiman Law Group, Ltd.
2500 S. Highland Ave., Suite 200
Lombard, IL 60148
mdaher@sulaimanlaw.com




                                                           //s// Keith Wier
                                                              Keith Wier




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